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          EXHIBIT A
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                                                                                         E-FILED IN OFFICE • KB
                                                                                     CLERK OF SUPERIOR COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                                 23-A-09712-7
                                                                                            11/7/2023 4:05 PM
                                                                                          TIANA P. GARNER, CLERK

              IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                 ST ATE OF GEORGIA

MICHELLE M. HENDLEY,
                                                               CIVIL ACTION
       Plaintiff,                                                       23-A-09712-7
                                                               FILE NO.: - - - - -
v.

CENTENE CORPORA TYON; CENTENE :
MANAGEMENT COMPANY LLC; and
AMBETTER OF PEACH STATE, INC.,

       Defendants.

                                       SUMMONS

TO:    AMBETTER OF PEACH STATE, INC.
       C/O C T CORPORATION SYSTEM, AS REGISTERED AGENT
       289 S. CULVER STREET
       LAWRENCEVILLE, GA 30046

       You are hereby summoned and required to file with the Clerk of said Court and

serve upon Jody D. Peterman, Plaintiffs attorney, whose address is Jody D. Peterman,

LLC, P.O. Box 6010, Valdosta, GA 31603-6010, an answer to the Complaint which is

herewith served upon you, within thirty (30) days after service of this summons upon

you, exclusive of the day of service. If you fail to do so, judgment by default will be

taken against__you for the relief demanded in the complaint.
    •         mh day of November, 2023
       This the __ day of _ _ _ _ _ _ _ _ , 202_.



                                                               ~
                                              DEP. CLERK OF COURT
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                                                                                                       CLERK OF SUPERIOR COURT
                                                                                                      GWINNETT COUNTY, GEORGIA
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                      IN THE SUPERIOR COURT OF GWINNETT COUNTY

                                           STATE OF GEORGIA

MICHELLE M. HENDLEY,
                                                                       CIVIL ACTION
         Plaintiff,                                                             23-A-09712-7
                                                                       FILE NO.: - - - - - -
v.

CENTENE CORPORATION; CENTENE :
MANAGEMENT COMPANY LLC; and
AMBETTER OF PEACH STATE, INC.,

         Defendants.


                                                 COMPLAINT

         COMES NOW Michelle M. Hendley, Plaintiff in the above-styled action, and files this

Complaint against Defendants Centene Corporation; Centene Management Company LLC; and

Am better of Peach State, Inc., showing the Court as follows:

                                            COUNT I: PARTIES

                                                         I.

        The Plaintiff is a resident of Clinch County, Georgia.

                                                        2.

        Defendant Centene Corporation ("Defendant Centene Corporation") is a Delaware

corporation with its principal place of business at 7700 Forsyth Boulevard, St. Louis, Missouri

63105 and is authorized to and does transact business within the State of Georgia. Defendant

Centene Corporation, a holding company, itself having no employees, which is the corporate

pinnacle of a set of wholly-owned subsidiaries who, collectively, constitute one of, and hold

themselves out to the public as one of, the nation's largest insurers providing coverage through


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the ACA and which has steadily been expanding its operations around the country. is offered by

the "Centene" entity across the nation. Defendant Centene Corporation service of process may be

perfected upon Defendant by serving its registered agent, C T Corporation System, 289 S. Culver

Street, Lawrenceville, GA 30046.

                                                        3.

        Defendant Centene Management Company, LLC is a Wisconsin corporation with its

principal place of business at 7700 Forsyth Boulevard, St. Louis, Missouri 63105 and is

authorized to and does transact business within the State of Georgia. Defendant Centene

Management Company LLC is a wholly owned subsidiary of Defendant Centene Corporation, a

holding company, itself having no employees, which is the corporate pinnacle of a set ofwholly-

owned subsidiaries who, collectively, constitute one of, and hold themselves out to the public as

one of, the nation's largest insurers providing coverage through the ACA and which has steadily

been expanding its operations around the country. Defendant Centene Management Company

LLC, is corporate entity through which Defendant Centene Corporation effectuates the common

policies and practices and conduct of its subsidiaries and through which insurance is offered by

the "Centene" entity across the nation. As here relevant, Defendant Centene Corporation and

Defendant Centene Management Company LLC, effectuates, controls and handles the operations

of Defendant Ambetter of Peach State, Inc., so that Defendant Am better of Peach State, Inc., is a

shell and alter ego of Defendant Centene Corporation and Defendant Centene Management

Company LLC and Defendant Am better of Peach State, Inc., operate so in concert and together

in a common enterprise and through related activities so that the actions of one may be imputed

to the other and/or so that their corporate formality should be disregarded for purposes of



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attributing their unlawful conduct to "Centene". To all intents and purposes, the activities of

Defendant Am better of Peach State, Inc., have been abdicated to "Centene" and the nature by

which "Centene" is the entity which entirely controls the activities of Defendant Centene

Management Company LLC and Defendant Am better of Peach State, Inc. Defendant Centene

Management Company LLC service of process may be perfected upon Defendant by serving its

registered agent, C T Corporation System, 289 S. Culver Street, Lawrenceville, GA 30046.

                                                        4.

        Defendant Am better of Peach State, Inc., is a domestic insurance Georgia company with

its principal place of business at 1100 Circle 75 Parkway, Atlanta, Georgia 30339. Defendant

Am better of Peach State, Inc., is licensed to sell health insurance in the State of Georgia.

Defendant Am better of Peach State, Inc., is a wholly-owned subsidiary of Defendant Centene

Corporation and operates as the "Centene" presence in the State of Georgia, including offering

Am better insurance product. Defendant Am better of Peach State, Inc., service of process may be

perfected upon Defendant by serving its registered.agent, CT Corporation System, 289 S. Culver

Street, Lawrenceville, GA 30046.

                                                        5.

       As used hereinafter "Defendant Centene" shall refer to the joint and several activities of

Defendant Centene Corporation, Defendant Centene Management Company LLC, and

Defendant Am better of Peach State, Inc.

                            COUNT II: JURISDICTION AND VENUE

                                                       6.

       Jurisdiction and venue are proper in this Court.



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                              COUNT III: FACTUAL ALLEGATIONS

                                                        7.

        Jointly and severally Defendants are members of a RICO enterprise that defrauds

primarily low-income consumers, in part by taking advantage of enterprise members' status as

Medicaid managed-care organizations.

                                                        8.

        Ambetter plans don't comply with the ACA's requirements.

                                                        9.

        Ambetter plan documents misrepresent the benefits that members will receive.



        Defendants have been defrauding consumers since 2013.

                                                       11.

        Defendants engaged in racketeering by.violating the criminal federal mail- and wire fraud

statutes millions of times incident to their scheme to defraud.

                                                       12.

        The Am better Enterprise's scheme to defraud could not have been executed without

Defendant Centene Corporation and its subsidiaries using their separate legal incorporation

to facilitate racketeering activity.

                                                       13.

        Defendant Centene Corporation and Defendant Centene Management Company LLC

obtain their subsidiaries by acquiring companies that previously offered legitimate health

insurance services and then use the subsidiaries to further the Ambetter Enterprise.



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                                                       14.

        The Ambetter Enterprise defrauded not only consumers, but also the federal

government.

                                                       15.

        Plaintiff was a recipient of Am better of Peach State Insurance.

                                                       16.

        Plaintiff's cardiologist's prior authorization for a medically necessary heart procedure

was denied by the Defendants which ultimately led to the Plaintiff having a heart attack on

November 8, 2021.

                                                       17.

        If the Defendants had approved the prior authorization for the medically necessary heart

procedure at the time it was requested by her cardiologist, the procedure could have been done

and the Plaintiff would not have had the heart attack.

                                                       18.

       The Defendants negligently denied the Plaintiff the appropriate medically necessary heart

procedure. The proximate cause of Plaintiff's injuries related to her heart attack is the negligence

of the Defendants.
                  '
                                 COUNT IV: CLAIMS FOR RELIEF

                                                       19.

       Plaintiff repeats and incorporates by reference all preceding paragraphs and

allegations.




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                                                       20.

        Violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §

1962(c).

                                                       21.

        Unjust Enrichment.

                                                       22.

        Violations of Georgia's Fair Business Practices Act. O.C.G.A. § 10-1-390. Simply in

denying Plaintiff a certain medically necessary heart procedure the Defendants committed a

volitional act constituting an unfair or deceptive act or practice conjoined with culpable

knowledge of nature. The Defendants knew that Plaintiff needed the procedure but denied the

procedure because of the cost of the procedure.

                                  COUNT V: PRAYER FOR RELIEF

   WHEREFORE, Plaintiff respectfully request that this court enter an Order:

   a. That service of process issue in accordance with the law;

   b. That Plaintiff have a jury trial on all issues set forth herein;

   c. Declaring that Defendants' actions, as set out above, violate RICO, 18 U.S.C. § l 962(c);

   d. Awarding treble damages based on the overcharges incurred by Plaintiff as a result of

        Defendants' pattern of racketeering activity and scheme to defraud, 18 U.S.C. § 1964(c);

   e. Declaring that Defendants' actions, as set out above, violate the Georgia Uniform

        Deceptive Trade Practices Act;

   f.   Awarding any and all damages incurred by the Plaintiff;

   g. Awarding Plaintiff her reasonable litigation expenses and attorneys' fees; and

   h. Awarding such other and further relief as equity and justice may require.
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   This the 7th day of November 2023

                                                            JODY D. PETERMAN, LLC



                                                              Isl Jody D. Peterman
                                                            JODY D. PETERMAN
                                                            Attorney for Plaintiff
                                                            Georgia Bar No.: 573552
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Valdosta, GA 31603-6010
Phone (229) 247-0386
Fax (229) 469-6735
Email: petermanlawoffice@yahoo.com




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